     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 1 of 10 Page ID #:12


 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     Michael J. Manning, Esq. (State Bar No. 286879)
 2   Craig G. Côté, Esq. (State Bar No. 132885)
 3   MANNING LAW, APC
     4667 MacArthur Blvd., Suite 150
 4   Newport Beach, CA 92660
 5   Office: (949) 200-8755
     ADAPracticeGroup@manninglawoffice.com
 6

 7
     Attorneys for Plaintiff: CARMEN JOHN PERRI
 8

 9
                           UNITED STATES DISTRICT COURT
10
             CENTRAL DISTRICT OF CALIFORNIA- WESTERN DIVISION
11

12
                                             Case No.
13   CARMEN JOHN PERRI, an
                                             Complaint For Damages And
14   individual,                             Injunctive Relief For:
15
                     Plaintiff,              1. VIOLATIONS OF THE
16                                              AMERICANS WITH DISABILITIES
     v.                                         ACT OF 1990, 42 U.S.C. §12181 et
17
                                                seq.
18
     THAI ORIGINAL BBQ, a business
19                                           2. VIOLATIONS OF THE UNRUH
     of unknown form; TUNG’S
                                                CIVIL RIGHTS ACT, CALIFORNIA
20   INVESTMENT GROUP, INC., a
                                                CIVIL CODE § 51 et seq.
     California Corporation; and Does 1-
21   10,
22

23
                    Defendants.

24

25         Plaintiff, Carmen John Perri (“Plaintiff”), complains of Defendants Thai
26   Original BBQ, a business of unknown form; Tung’s Investment Group, Inc., a
27   California Corporation; and Does 1-10 (“Defendants”) and alleges as follows:
28         ////
                                              1
                                           COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 2 of 10 Page ID #:13


 1                                         PARTIES:
 2         1.     Plaintiff is an adult California resident. Plaintiff has a Disabled Person
 3
     Parking Placard issued to him by the State of California. Plaintiff is substantially
 4
     limited in performing one or more major life activities, including but not limited to:
 5

 6   walking, standing, ambulating, sitting and grasping objects. As a result of these

 7   disabilities, Plaintiff relies upon a wheelchair and other devices for mobility. With
 8   such disabilities, Plaintiff qualifies as a member of a protected class under the
 9
     Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2) and the regulations
10
     implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.
11

12         2.     Plaintiff had a cervical laminectomy (removal of the back side of 4

13   vertebrae in his neck) with instrumentation (brackets, screws and rods to hold his
14   neck together). The surgery caused further injury to his spinal cord. Resultant
15
     permanent damage to his nerves causes weakness and fatigue, pain and loss of
16
     strength in his arms, hands and legs. In addition he has developed permanent nerve
17

18   damage that has caused increased pain and limits his ability to function and in his

19   mobility, especially for any extended period of time. Therefore, plaintiff is
20   substantially limited in performing one or more major life activities, including but
21
     not limited to: walking, standing ambulating, and/or sitting. As a result of his
22
     impairments, he is subject to falls, is unsteady on his feet, cannot walk for any
23

24   significant distance without having to periodically rest and often uses a wheelchair

25   and walker for mobility.
26         3.     Plaintiff brings this action acting as a “private attorney general” as
27
     permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize
28
                                                2
                                           COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 3 of 10 Page ID #:14


 1   enforcement of the ADA without the American tax payer(s) bearing the financial tax
 2
     burden for such action.
 3
             4.   Plaintiff is informed and believes and thereon alleges that Defendant
 4
     Tung’s Investment Group, Inc., a California Corporation, owned the property
 5
     located at 441 E. Carson St. Carson, CA 90745 (“Property”) on or around April 9,
 6
     2018.
 7
             5.   Plaintiff is informed and believes and thereon alleges that Defendant
 8
     Tung’s Investment Group, Inc., a California Corporation owns the Property
 9
     currently.
10
             6.   Plaintiff is informed and believes and thereon alleges that Defendant
11
     Thai Original BBQ, a business of unknown form (“Business”) located at the
12
     Property in April 9, 2018.
13
             7.   Defendant Thai Original BBQ, a business of unknown form, operates
14
     and controls the Business located at the Property currently.
15
             8.   Plaintiff does not know the true names of Defendants, their business
16
     capacities, their ownership connection to the subject property and business, or their
17
     relative responsibilities in causing the access violations herein complained of, and
18
     alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
19
     informed and believes that each of the Defendants herein, including Does 1 through
20
     10, inclusive, is responsible in some capacity for the events herein alleged, or is a
21
     necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
22
     when the true names, capacities, connections, and responsibilities of the Defendants
23
     and Does 1 through 10, inclusive, are ascertained.
24
                               JURISDICTION AND VENUE
25
             9.   This Court has subject matter jurisdiction over this action pursuant
26
     to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
27
     with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
28
                                                3
                                           COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 4 of 10 Page ID #:15


 1          10.    This court has supplemental jurisdiction over Plaintiff’s non-federal
 2   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act
 3   (“UCRA”) claims are so related to Plaintiff’s federal ADA claims in that they have
 4   the same nucleus of operative facts and arising out of the same transactions, they
 5   form part of the same case or controversy under Article III of the United States
 6   Constitution.
 7          11.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 8   real property which is the subject of this action is located in this district and because
 9   Plaintiff's causes of action arose in this district.
10

11                                FACTUAL ALLEGATIONS
12          12.    Plaintiff went to the Business on or about April 9, 2018 to purchase a
13   beverage.
14          13.    The Business is a facility open to the public, a place of public
15   accommodation, and a business establishment.
16          14.    Parking spaces are one of the facilities, privileges and advantages
17   reserved by defendants to persons at the property serving the Business.
18          15.    Unfortunately, although parking spaces were one of the facilities
19   reserved for patrons, there were no designated parking spaces available for persons
20   with disabilities that complied with the Americans with Disability Act Accessibility
21   Guidelines (“ADAAG”) on April 9, 2018.
22          16.    Instead of having compliant designated disabled parking on the
23
     Property, Defendants have: a built up curb ramp that projects from the sidewalk and
24
     into the handicapped parking area (Section 406.5). Furthermore, the curb ramp is in
25

26   excess of the 2% maximum grade allowed by ADAAG specifications (Section

27   406.1); a latch lock on the restroom door that is too high; a sink in the restroom that
28   contains exposed drain pipes; and a paper towel dispenser that is too high. The
                                                  4
                                             COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 5 of 10 Page ID #:16


 1   combination of ADA violations in the Defendant’s facilities both in the parking area
 2
     and in the restroom caused Plaintiff difficulty and deters Plaintiff from visiting the
 3
     Business.
 4
           17.    Subject to the reservation of rights to assert further violations of law
 5
     after a site inspection found infra, Plaintiff asserts there are additional ADA
 6
     violations which affect him personally.
 7
           18.    Plaintiff is informed and believes and thereon alleges Defendants had
 8
     no policy or plan in place to make sure that there was a compliant accessible access
 9
     parking reserved for persons with disabilities prior to April 9, 2018.
10
           19.    Plaintiff is informed and believes and thereon alleges Defendants have
11
     no policy or plan in place to make sure that the designated disabled parking for
12
     persons with disabilities comport with the ADAAG.
13
           20.    The designated disabled parking spaces for use by persons with
14
     disabilities are a tip over, crash, fall hazard or trip hazard because it contains a built
15
     up curb ramp and cross slopes.
16
           21.    Plaintiff personally encountered these barriers because he was in a
17
     wheelchair. These inaccessible conditions denied the Plaintiff full and equal access
18
     and caused him difficulty, humiliation and frustration because it represented a tip-
19
     over hazard, and/or crash and fall hazard.
20
           22.    As an individual with a mobility disability who at times is dependent
21
     upon a wheelchair or other mobility device, Plaintiff has a keen interest in whether
22
     public accommodations have architectural barriers that impede full accessibility to
23
     those accommodations by individuals with mobility impairments.
24
           23.    Plaintiff is being deterred from patronizing the Business and its
25
     accommodations on particular occasions, but intends to return to the Business for the
26
     dual purpose of availing himself of the goods and services offered to the public and
27
     to ensure that the Business ceases evading its responsibilities under federal and state
28
                                                  5
                                            COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 6 of 10 Page ID #:17


 1   law.
 2          24.      The defendants have failed to maintain in working and useable
 3   conditions those features required to provide ready access to persons with
 4   disabilities.
 5          25.      The violations identified above are easily removed without much
 6   difficulty or expense. They are the types of barriers identified by the Department of
 7   Justice as presumably readily achievable to remove and, in fact, these barriers are
 8   readily achievable to remove. Moreover, there are numerous alternative
 9   accommodations that could be made to provide a greater level of access if complete
10   removal were not achievable.
11          26.      Plaintiff is being deterred from patronizing the Business and its
12   accommodations on particular occasions, but intends to return to the Business for the
13   dual purpose of availing herself of the goods and services offered to the public and
14   to ensure that the Business ceases evading their responsibilities under federal and
15   state law.
16          27.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
17   alleges, on information and belief, that there are other violations and barriers in the
18   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
19   notice regarding the scope of this lawsuit, once he conducts a site inspection.
20   However, please be on notice that the Plaintiff seeks to have all barriers related to
21   his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
22   that once a plaintiff encounters one barrier at a site, the plaintiff can sue to have all
23   barriers that relate to his disability removed regardless of whether he personally
24   encountered them).
25          28.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
26   alleges, on information and belief, that the failure to remove these barriers was
27   intentional because: (1) these particular barriers are intuitive and obvious; (2) the
28   defendants exercised control and dominion over the conditions at this location prior
                                                  6
                                             COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 7 of 10 Page ID #:18


 1   to April 9, 2018, (3) the lack of accessible facilities was not an accident because had
 2   the defendants intended any other configuration, they had the means and ability to
 3   make the change.
 4         29.    Without injunctive relief, plaintiff will continue to be unable to fully
 5   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 6                               FIRST CAUSE OF ACTION
 7    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 8                                  42 U.S.C. § 12181 et seq.
 9         30.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
10   above and each and every other paragraph in this Complaint necessary or helpful to
11   state this cause of action as though fully set forth herein.
12         31.    Under the ADA, it is an act of discrimination to fail to ensure that the
13   privileges, advantages, accommodations, facilities, goods, and services of any place
14   of public accommodation are offered on a full and equal basis by anyone who owns,
15   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
16   Discrimination is defined, inter alia, as follows:
17                a.     A failure to make reasonable modifications in policies, practices,
18                       or procedures, when such modifications are necessary to afford
19                       goods, services, facilities, privileges, advantages, or
20                       accommodations to individuals with disabilities, unless the
21                       accommodation would work a fundamental alteration of those
22                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
23                b.     A failure to remove architectural barriers where such removal is
24                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
25                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
26                       Appendix "D".
27                c.     A failure to make alterations in such a manner that, to the
28                       maximum extent feasible, the altered portions of the facility are
                                                 7
                                            COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 8 of 10 Page ID #:19


 1                         readily accessible to and usable by individuals with disabilities,
 2                         including individuals who use wheelchairs, or to ensure that, to
 3                         the maximum extent feasible, the path of travel to the altered area
 4                         and the bathrooms, telephones, and drinking fountains serving
 5                         the area, are readily accessible to and usable by individuals with
 6                         disabilities. 42 U.S.C. § 12183(a)(2).
 7         32.       Any business that provides parking spaces must provide accessible
 8   parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
 9   Standards, parking spaces and access aisles must be level with surface slopes not
10   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
11   Standards, access aisles shall be at the same level as the parking spaces they serve.
12   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
13   required to be nearly level in all directions to provide a surface for wheelchair
14   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Here the failure to
15   provide a level access aisle in the designated disabled parking space is a violation of
16   the law and excess slope angle in the access pathway is a violation of the law.
17         33.       A public accommodation must maintain in operable working condition
18   those features of its facilities and equipment that are required to be readily accessible
19   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
20         34.       Here, the failure to ensure that accessible facilities were available and
21   ready to be used by Plaintiff is a violation of law.
22         35.       Given its location and options, Plaintiff will continue to desire to
23   patronize the Business but he has been and will continue to be discriminated against
24   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
25   the barriers.
26                                SECOND CAUSE OF ACTION
27       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
28         36.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
                                                  8
                                              COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 9 of 10 Page ID #:20


 1   above and each and every other paragraph in this Complaint necessary or helpful to
 2   state this cause of action as though fully set forth herein.
 3         37.    California Civil Code § 51 et seq. guarantees equal access for people
 4   with disabilities to the accommodations, advantages, facilities, privileges, and
 5   services of all business establishments of any kind whatsoever. Defendants are
 6   systematically violating the UCRA, Civil Code § 51 et seq.
 7         38.    Because Defendants violate Plaintiff’s rights under the ADA, they also
 8   violated the UCRA and are liable for damages. (Civ. Code § 51(f), 52(a).) These
 9   violations are ongoing.
10         39.    Plaintiff is informed and believes and thereon alleges that Defendants’
11   actions constitute intentional discrimination against Plaintiff on the basis of a
12   disability, in violation of the UCRA, Civil Code § 51 et seq., because Defendants
13   have been previously put on actual or constructive notice that the Business is
14   inaccessible to Plaintiff. Despite this knowledge, Defendants maintain their
15   premises in an inaccessible form, and Defendants have failed to take actions to
16   correct these barriers.
17                                          PRAYER
18    WHEREFORE, Plaintiff prays that this court award damages provide relief as
19   follows:
20         1.     A preliminary and permanent injunction enjoining Defendants from
21   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
22   51 et seq. with respect to its operation of the Business and Property; Note: Plaintiff
23   is not invoking section 55, et seq, of the California Civil Code and is not seeking
24   injunctive relief under the Disable Persons Act (Cal. C.C. §54) at all.
25         2.     An award of actual damages and statutory damages of not less than
26   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
27         3.     An additional award of $4,000.00 as deterrence damages for each
28   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
                                                 9
                                            COMPLAINT
     Case 2:18-cv-03398-ODW-KS Document 3 Filed 04/23/18 Page 10 of 10 Page ID #:21


 1    LEXIS 150740 (USDC Cal, E.D. 2016);
 2          4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 3    pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
 4                                DEMAND FOR JURY TRIAL
 5          Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 6    raised in this Complaint.
 7

 8    Dated: April 23, 2018            MANNING LAW, APC
 9

10                                     By: /s/ Joseph R. Manning Jr., Esq.
                                          Joseph R. Manning Jr., Esq.
11                                        Michael J. Manning, Esq.
12                                        Craig G. Côté, Esq.
                                          Attorneys for Plaintiff
13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
28
                                                10
                                            COMPLAINT
